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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

DONALD FALLS, JILL HARPER,
Dr. ROBERT CASSANELLO, STEPHANIE
NICOLE JAMIESON, as next of friend of RMJ,
Dr. TAMMY L. HODO,

      Plaintiffs,

vs.                                                Case No.: 4:22-cv-00166

RON DESANTIS, in his official
capacity as Governor of Florida; RICHARD CORCORAN,
in his official capacity as Commissioner of the
Florida State Board of Education; TOM GRADY,
BEN GIBSON, MONESIA BROWN, MARVA
JOHNSON, RYAN PETTY, JOE YORK,
in their official capacities as members of the
Florida State Board of Education; BRIAN LAMB,
TIMOTHY M. CERIO, AUBREY EDGE, PATRICIA FROST,
EDWARD HADDOCK, H. WAYNE HUIZENGA, JR.,
NATASSIA JANVIER, KEN JONES,
DARLENE LUCCIO JORDAN, ALAN LEVINE,
CHARLES H. LYDECKER, STEVEN M. SCOTT,
WILLIAM SELF, ERIC SILAGY, KENT STERMON,
in their official capacities as members of the Florida Board of
Governors of the State University System; and ASHLEY MOODY,
in her official capacity as Florida’s Attorney General,

     Defendants.
___________________________________

                     PLAINTIFF’S NOTICE OF FILING

      Plaintiff’s by and through undersigned counsel, hereby files the following

documents:
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1.    Declaration of Donald Falls;

2.    Declaration of Dr. Robert Cassanello;

3.    Declaration of Dr. Derek Black;

4.    Declaration of Dr. Tammy Hodo;

5.    Declaration of Barbara Cheives;

6.    Declaration of SFPOC;

7.    Declaration of Dr. Edward Dunbar;

8.    Declaration of Dr. Harry Krop;

9.    Declaration of Jessie Swanson;

10.   Declaration of J.A.;

11.   Declaration of B.H.;

12.   Declaration of E.G.;

13.   Declaration of J.G.;

14.   Declaration of Y.A.;

15.   Declaration of S.S.;

16.   Declaration of D.M.Z.;

17.   Declaration of J.D.;

18.   Declaration of S.R.;

19.   Declaration of C.B.;

20.   Declaration of S.C.;


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21.   Declaration of Maria Salt; and

22.   Declaration of B.G.;

                               Respectfully submitted,

                                     /s/ Jesse B. Wilkison
                               Elizabeth L. White, Esquire
                               Florida Bar No.: 314560
                               Matthew R. Kachergus, Esquire
                               Florida Bar No.: 503282
                               Bryan E. DeMaggio, Esquire
                               Florida Bar No.: 055712
                               Jesse B. Wilkison, Esquire
                               Florida Bar No.: 118505
                               Camille E. Sheppard, Esquire
                               Florida Bar No.: 124518
                               Sheppard, White, Kachergus, DeMaggio &
                               Wilkison, P.A.
                               215 Washington Street
                               Jacksonville, Florida 32202
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                               Facsimile: (904) 356-9667
                               Email: sheplaw@sheppardwhite.com
                               COUNSEL FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing has been furnished to

Charles Cooper, Esquire, ccooper@cooperkirk.com, Davis Cooper, Esquire,

pdcooper@cooperkirk.com, Timothy Newhall, Esquire,

timothy.newhall@myfloridalegal.com, John D. Ohlendorf, Esquire,

johlendorf@cooperkirk.com, John Ramer, Esquire, jramer@cooperkirk.com,

Alannah Lee Shubrick, Esquire, Alannah.shubrick@myfloridalegal.com, by

electronic mail this 18th day of May, 2022.

                                            /s/ Jesse B. Wilkison
                                        ATTORNEY




JBW/jj[crt-notice.of.filing]




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